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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

         Plaintiff,                                      Case No. 3:21-cr-85

vs.

ALEXIS INIGUEZ-ALDACO,                                   District Judge Michael J. Newman
                                                         Magistrate Judge Sharon L. Ovington

      Defendant.
______________________________________________________________________________

  ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
              STATES MAGISTRATE JUDGE (DOC. NO. 42).


         This criminal case is before the Court on the Report and Recommendation of the Magistrate

Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No. 42. There being

no objections, the Court ADOPTS the Report and Recommendation in full. The Court accepts

Defendant’s plea of guilty as charged in Count One of the Information, which charges her of

Conspiracy to Possess with Intent to Distribute Heroin in violation of 21 U.S.C. §§ 846, 841(a)(1)

and 841(b)(1)(C). Doc. No. 33. The Court will defer the decision of whether to accept the plea

agreement until the sentencing hearing on November 18, 2021 at 10:00 AM.

         IT IS SO ORDERED.

         October 12, 2021                            s/ Michael J. Newman
                                                     Hon. Michael J. Newman
                                                     United States District Judge
